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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

UNITED STATES                      *
                                   *
    v.                             *      CRIM. NO. 20-724
                                   *
Dominique Auston                   *
                                   *
                                 *****
 ORDER REGARDING USE OF VIDEO CONFERENCING/TELECONFERENCING
                 FOR ',675,&7&2857352&((',1*6

        In accordance with Standing Order 2020-06, this Court finds:

  ✔      That the Defendant (or the Juvenile) has consented to the use of video

teleconferencing/teleconferencing to conduct the proceeding(s) held today, after consultation

with counsel; and

  ✔      That the proceeding(s) to be held today cannot be further delayed without serious harm

to the interests of justice, for the following specific reasons:
   Due to the COVID-19 pandemic, Defendant was unable to proceed in person without jeopardy to the
   Defendant and this Court. In order to proceed with Defendant's case in an efficient manner, the interests
   of justice require proceeding by video conference.


Accordingly, the proceeding(s) held on this date may be conducted by:
   ✔      Video Teleconferencing

          Teleconferencing, because video teleconferencing is not reasonably available for the

following reason:

                  The Defendant (or the Juvenile) is detained at a facility lacking video

        teleconferencing capability.

                  Other:




Date:    SEPTEMBER 15, 2020
                                                             Honorable Brian Martinotti
                                                             United States District Judge
